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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                              )
                                                              )
In re:                                                        ) Chapter 7
                                                              )
ALEXANDER E. JONES,                                           ) Case No. 22-33553 (CML)
                                                              )
                         Debtor.                              ) Re: Docket No. 1089
                                                              )

              JOINT OBJECTION OF THE SANDY HOOK FAMILIES
    TO FUAC’S MOTION REQUESTING LEAVE TO FILE A MOTION APPROVING
     THE SALE OF FSS ASSETS, AND REQUEST FOR A STATUS CONFERENCE
         The Connecticut Families 1 and the Texas Families 2 (collectively, the “Sandy Hook

Families”), as creditors and parties in interest in the above-captioned case, file this objection to

the Expedited Motion Requesting Leave to File a Motion Approving the Sale of FSS Assets, and

Request for a Status Conference [Docket No. 1089] (the “FUAC Sale Motion”), filed by First

United American Companies, LLC (“FUAC”). In support hereof, the Sandy Hook Families

respectfully state as follows:

         1.     In the over three years since FSS 3 and Jones 4 first filed their bankruptcy cases,

more than $10 million has been billed by estate professionals in these cases, either defending

Jones or responding to objections from Jones. And yet, the Sandy Hook Families have not yet

received—and are no closer to receiving—a single dollar in distributions from either Jones or

FSS through the bankruptcy cases. The FUAC Sale Motion asks for more of the same; another

opportunity for Jones and FUAC to try to dictate the terms of the case, oppose any outcome that

1
    The “Connecticut Families” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian
    Hockley, Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto,
    Jillian Soto-Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
2
    The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate
    of Marcel Fontaine.
3
    “FSS” refers to Free Speech Systems, LLC.
4
    “Jones” refers to Alexander E. Jones, the above-captioned debtor.


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does not return the FSS assets back to Jones, and to pursue scorched earth litigation knowing that

the costs to Jones’ estate (the “Estate”) will be borne by the Sandy Hook Families. Only weeks

ago this Court held “I’m not allowing a sale of the assets anymore.” 5 And yet, Jones and

FUAC—parties that have no economic standing in the case—are asking for the Court to reverse

itself and for the chapter 7 trustee in the Jones case (the “Trustee”), to incur additional fees,

including by responding to the FUAC Sale Motion itself.

        2.       The Sandy Hook Families have determined that the best path for collecting on

their judgments against FSS is to work together and pursue remedies in state court, which they

will be doing in short order. In pursuing state court remedies, the Sandy Hook Families will

coordinate, as appropriate, with the Trustee, who is the 100% equity owner of FSS. The

Families no longer see any benefit to pursuing a costly and litigious sale process in this Court.

For this reason and several others, detailed below, the Sandy Hook Families oppose the relief

requested by the FUAC Sale Motion.

        3.       First, this Court has expressly rejected the remedy that FUAC seeks. It explicitly

instructed that it is “not allowing a sale of the assets [of FSS] anymore” 6 and that “you can

consider any use of the supplemental order null and void, because the purpose for which it

served was the auction of the assets, and we’re not doing that anymore. I don’t trust the process.

I would have to do it—me, myself—and I’m not overseeing it.” 7 FUAC does not argue that

circumstances have changed since this Court decided to disallow an auction of FSS’s assets.

FUAC merely wants a second bite at the apple after its previous disappointment and asks that the

Court reverse its unequivocal decision not to pursue a sale of FSS’s assets without offering any

new information or changed circumstances to warrant such a reversal.

5
    Feb. 5, 2025 Hr’g Tr., 13:4-5.
6
    Id.
7
    Feb. 5, 2025 Hr’g Tr., 14:13-17.

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       4.      Second, FUAC is only a disappointed bidder who lacks standing to file the motion

it seeks to submit in this case. In support of the remedy it seeks, FUAC offers only self-serving

arguments about how much time and how many resources it has spent attempting to acquire

FSS’s assets. The costs and expenses involved in preparing a bid do not confer standing on a

party who has no other interest in a bankruptcy case. See In re HST Gathering Co., 125 B.R. at

468 (holding that a bidder who “went to ‘considerable expense’ to prepare and submit his bid”

did not have standing because he was “on notice that the cost of preparing and submitting the bid

was merely a cost of doing business because acceptance was not guaranteed”); see also Ordower

v. Martino, Nos. 93 C 5252, 92 B 12333, 1993 WL 500813, at *3 (N.D. Ill. Nov. 10, 1993)

(holding that a bidder’s claim of “nominal expenses in preparation of his bid to the Trustee” did

not establish cognizable injury to confer standing). In circumstances like this, FUAC does not

have standing. See Wallach v. Kirschenbaum, No. 11 CV 0795 (SJF), 2011 WL 2470609, at *4

(E.D.N.Y. June 16, 2011) (“A prospective purchaser . . . lacks standing to challenge a

bankruptcy court’s disallowance of a proposed sale of an asset of the bankruptcy estate.”); In re

Quanalyze Oil Gas Corp., 250 B.R. 83, 89 (Bankr. W.D. Tex. 2000) (citation omitted) (“A

competing bidder normally lacks standing to even challenge a sale, much less seek

reconsideration of an order approving sale.”); In re HST Gathering Co., 125 B.R. 466, 468

(W.D. Tex. 1991) (citation omitted) (bidders are not within the “zone of interests intended to be

protected” under the bankruptcy statutes and rules); In re Gulf States Steel, Inc. of Ala., Inc., 285

B.R. 739, 742 (Bankr. N.D. Ala. 2002) (collecting cases) (“There are numerous authorities which

hold that a non-creditor, whose only connection with a bankruptcy case is that the party was an

unsuccessful bidder at a bankruptcy sale, lacks standing to challenge the right of other bidders to

consummate the sale.”); In re Linett, BAP No. SC-23-1102-FBC, 2023 WL 8813825, at *4 (9th



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Cir. BAP Dec. 20, 2023) (“An aggrieved prospective bidder does not have standing to appeal a

sale or settlement order.”); In re Diplomat Constr. Inc., 481 B.R. 215, 217 (Bankr. N.D. Ga.

2012) (unsuccessful bidders were not parties in interest and lacked standing to oppose motion to

sell); Greenwald v. Pocmont Props., LLC, 23-CV-02875 (RPK), 2024 WL 3045205, at *5

(E.D.N.Y. June 17, 2024) (citation omitted) (“the Bankruptcy Court correctly observed that ‘a

prospective purchaser of assets of a bankruptcy estate is not within the zone of interests intended

to be protected by the Bankruptcy Code and, therefore, typically does not have standing to

challenge the sale of the assets to another party.’”). FUAC appeared for the first time in this case

as a prospective bidder for FSS’s assets—it is neither a creditor nor party-in-interest in the Jones

bankruptcy case. Accordingly, FUAC does not have standing to bring the FUAC Sale Motion

under the Bankruptcy Code. Rather, the Trustee is the only party that has the authority to seek a

sale of the FSS assets in the Jones bankruptcy case—to allow a potential bidder to force the

Trustee to initiate another sales process would be particularly unusual.

       5.      In addition, the fact that FUAC “remains willing to pay $8 million for the Assets

but simply cannot agree to acquire the equity of FSS” does not transform it into a party-in-

interest. It is not a creditor in this case. Thus, this Court should not revisit its decision on the

sale order. See, e.g., In re Gordon, No. 07-36315-H3-7, 2009 WL 1065127, at *3 (Bankr. S.D.

Tex. Feb. 27, 2009) (citation omitted) (“The appearance of a ‘better offer,’ standing alone does

not constitute grounds for reconsidering a sale order . . . .”). Given FUAC’s lack of standing, the

Sandy Hook Families oppose FUAC’s motion to seek leave to file a motion approving the sale of

FSS assets.

       6.      Third, given the Court’s February 5 ruling that it does not have authority to allow

claims against FSS, it makes no sense to require the Trustee to sell FSS’s assets. The sale



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process requested by the FUAC Sale Motion would only lock up sale proceeds with the Trustee,

as it provides no mechanism by which the Trustee may distribute these proceeds to creditors of

FSS (i.e., the Sandy Hook Families). The Court made clear in the February 5 ruling that there is

no FSS “bankruptcy estate to allow a claim against.” Feb. 5 Tr. at 11:20–11:21; see also Feb. 5

Tr. at 11:17–11:20 (“The 9019 now wants me to allow claims against FSS. . . and I can’t do that.

Because there’s no estate.”); Feb. 5 Tr. at 12:23–12:25 (stating, in respect of allowing a claim

against FSS, the Court “can’t do that. I cannot do that. I don’t have authority to do that.”).

        7.       In light of the Court’s rulings, the Court should not compel a process by which the

Trustee monetizes FSS’s assets for the benefit of its creditors but lacks the tools necessary to

determine which creditor is entitled to such sale proceeds. If the Trustee sells FSS’s assets—

rather than the FSS equity, which is property of the Estate—the Trustee would then need to

distribute such sale proceeds to creditors but would not have authority to determine which claims

are allowed and therefore entitled to such proceeds. A separate proceeding against FSS is

therefore necessary to determine which creditors are entitled to share in the proceeds resulting

from the disposition of FSS’s assets, and consistent with the Court’s February 5 ruling, the

Sandy Hook Families will look to state law remedies to liquidate FSS’s assets. 8 A bankruptcy

sale process would, of course, halt the Sandy Hook Families’ state court collection efforts, but

would not provide any mechanism by which the Sandy Hook Families may actually collect any

recoveries. Accordingly, the relief requested by the FUAC Sale Motion would only hinder

creditors’ recoveries, by obstructing their ability to pursue remedies in state court, while at the




8
    See, e.g., Feb. 5 Tr. at 10:23–10:24 (“FSS, that estate is closed. That case is closed. . . You have whatever
    rights you have outside the bankruptcy.”); Feb. 5 Tr. at 11:3–11:5 (“There’s nothing stopping anyone from
    pursuing any claims in Texas state court. The bankruptcy has no impact.”); Feb. 5 Tr. at 11:21–11:24 (“People
    can go to state court right now. If FSS . . . doesn’t pay someone’s bills, you don’t come to me and ask for an
    admin claim. You go to state court.”).

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same time locking up sale proceeds with the Trustee, who has no ability to apportion and

distribute those sale proceeds.

         8.      Finally, a further contested sale process would inevitably result in significant,

additional administrative expenses to the Estate—a cost directly borne by the Sandy Hook

Families. No matter the process or outcome, in any sale Jones’s scorched-earth litigation tactics

will unquestionably result in material, additional expenses to the Estate. Compounding this, two

parties—FUAC and WOW.AI LLC 9—have already expressed interest in acquiring the FSS

assets through a bankruptcy sale, laying the groundwork—even before any bidding procedures

are even considered by this Court—for a contested sale process.

         9.      Another contested sale process would significantly harm creditors’ recoveries—

which have already been delayed by years, while millions of dollars are paid to estate

professionals. Counsel to the Trustee alone has incurred over $1.4 million in fees through

January 31, 2025. 10 Nearly $800,000 of such fees were incurred between November 2024 and

January 2025, the period of time during which the first contested sale hearing took place. See

Interim Fee Application. The Sandy Hook Families have indulged enough resources leaving the

Estate, all of which would otherwise be used to pay their claims, and do not support further

Estate resources being spent toward a bankruptcy sale. Instead, the Sandy Hook Families—

consistent with the Court’s directive—intend to pursue their remedies under state law, which

they believe represents the most efficient and value-maximizing path forward.




9
     See Limited Joinder to FUAC’s Expedited Motion: (I) Requesting Leave to File Motion Approving Sale of FSS
     Assets, and (II) Requesting Status Conference [Docket No. 1093].
10
     See Second Interim Fee Application of Porter Hedges LLP, as Bankruptcy Counsel for Chapter 7 Trustee,
     Christopher R. Murray, for Allowance of Compensation and Reimbursement of Expenses for the Period from
     November 1, 2024 Through and Including January 31, 2025 [Docket No. 1085] (the “Interim Fee
     Application”).

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Dated: March 11, 2025                            Respectfully submitted,


/s/ Avi Moshenberg                                 /s/ Ryan E. Chapple
MCDOWELL HETHERINGTON LLP                          CAIN & SKARNULIS PLLC
Avi Moshenberg                                     Ryan E. Chapple
State Bar No. 24083532                             State Bar No. 24036354
1001 Fannin Street, Suite 2700                     303 Colorado Street, Suite 2850
Houston, TX 77002                                  Austin, TX 78701
Telephone: (713) 337-5580                          Telephone: (512) 477-5000
Fax: (713) 337-8850                                Fax: (512) 477-5011
E-mail: Avi.Moshenberg@mhllp.com                   E-mail: rchapple@cstrial.com
CHAMBERLAIN, HRDLICKA, WHITE,                      KOSKOFF KOSKOFF & BIEDER, PC
WILLIAMS & AUGHTRY, PC                             Alinor C. Sterling (admitted pro hac vice)
Jarrod B. Martin                                   350 Fairfield Avenue
State Bar No. 24070221                             Bridgeport, CT 06604
1200 Smith Street, Suite 1400                      Telephone: (203) 336-4421
Houston, TX 77002                                  E-mail: asterling@koskoff.com
Telephone: (713) 356-1280
                                                   PAUL, WEISS, RIFKIND,
Fax: (713) 658-2553
                                                   WHARTON & GARRISON LLP
E-mail: jarrod.martin@chamberlainlaw.com
                                                   Kyle J. Kimpler (admitted pro hac vice)
WILLKIE FARR & GALLAGHER LLP                       Paul Paterson (admitted pro hac vice)
Jennifer J. Hardy                                  Leslie Liberman (admitted pro hac vice)
State Bar No. 24096068                             Vida J. Robinson (admitted pro hac vice)
600 Travis Street                                  1285 Avenue of the Americas
Houston, TX 77002                                  New York, NY 10019-6064
Telephone: (713) 510-1766                          Telephone: (212) 373-3000
Fax: (713) 510-1799                                Fax: (212) 757-3990
E-mail: jhardy2@willkie.com                        E-mail: kkimpler@paulweiss.com
                                                            ppaterson@paulweiss.com
WILLKIE FARR & GALLAGHER LLP                                lliberman@paulweiss.com
Stuart R. Lombardi (admitted pro hac vice) Ciara A.         virobinson@paulweiss.com
Sisco (admitted pro hac vice)
787 Seventh Avenue New York, NY 10019              Co-Counsel to the Connecticut Families
Telephone: (212) 728-8000
Fax: (212) 728-8111
E-mail: slombardi@willkie.com
E-mail: csisco@willkie.com

Co-Counsel to the Texas Families




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing objection has been served on
counsel for Jones and all parties receiving or entitled to notice through CM/ECF on this 11th day
of March, 2025.

                                                    /s/ Ryan E. Chapple
                                                    Ryan E. Chapple




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